                                                                              Case 4:13-cr-00238-CW Document 5 Filed 07/05/13 Page 1 of 2




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                                                                                                        United States District Court
                                                                  3                                      Northern District of California
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                                                                                                                            Case No.: 4:13-cr-00238-CW-1
                                                                  6   UNITED STATES OF AMERICA,

                                                                  7                   Plaintiff,                            DETENTION ORDER

                                                                  8            v.

                                                                  9   SHELBY CHARLES STAMPS, JR.,

                                                                 10                   Defendant.
                               Northern District of California




                                                                 11
United States District Court




                                                                 12                                         I. DETENTION ORDER

                                                                 13            Defendant Shelby Charles Stamps is charged in an Indictment with a violation of 18

                                                                 14   U.S.C. § 2113(a) (Bank Robbery). At the July 5, 2013 hearing before this Court, Defendant was

                                                                 15   in custody and represented by Assistant Federal Defender Edward Smock. Assistant United

                                                                 16   States Attorney Andrew Huang (for Talia Falk) appeared on behalf of the United States.

                                                                 17            Defendant waived the timing of his right to proffer information at a detention hearing, see

                                                                 18   18 U.S.C. § 3142(f), and also waived findings, while retaining his right to seek release at a later

                                                                 19   hearing should his circumstances change.

                                                                 20                                            II. CONCLUSION

                                                                 21            The Court hereby detains Defendant, but because he has waived his right to present

                                                                 22   information under 18 U.S.C. § 3142(f) without prejudice to raising relevant information at a later

                                                                 23   hearing, the Court orders that the hearing may be reopened at Defendant’s request at any future

                                                                 24   time.

                                                                 25            Defendant shall remain committed to the custody of the Attorney General for confinement
                                                                 26   in a corrections facility separate, to the extent practicable, from persons awaiting or serving

                                                                 27   sentences or being held in custody pending appeal. Defendant shall be afforded reasonable

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                                                                           Case 4:13-cr-00238-CW Document 5 Filed 07/05/13 Page 2 of 2




                                                                  1   opportunity for private consultation with counsel. On order of a court of the United States or on
                                                                  2   request of an attorney for the Government, the person in charge of the corrections facility in
                                                                  3   which Defendant is confined shall deliver Defendant to a United States marshal for the purpose of
                                                                  4   an appearance in connection with a court proceeding.
                                                                  5          IT IS SO ORDERED.
                                                                  6   Dated: July 5, 2013
                                                                  7                                                                ___________________________
                                                                                                                                   KANDIS A. WESTMORE
                                                                  8                                                                United States Magistrate Judge
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                               Northern District of California




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United States District Court




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